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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF INDIANA
                           SOUTH BEND DIVISION

CONCHITA WASHINGTON,                     )
                                         )
      Petitioner                         )
                                         )
      v.                                 )   CAUSE NO. 3:06-CV-49RM
                                         )   (Criminal No. 3:91-CR-02(04)RM)
WARDEN, FEDERAL MEDICAL                  )
CENTER CARSWELL,                         ]
                                         )
      Respondent                         )

                              OPINION AND ORDER

      On January 17, Conchita Washington filed a document with the court

labeled: “Habeas Corpus Petition Pursuant to 28 USC § 451, et seq (1940).” For

the following reasons, the court construes this document as a successive petition

filed pursuant to 28 U.S.C. § 2255 and denies it for lack of jurisdiction.

      Ms. Washington’s motion asks the court to hold several statutes

unconstitutional, find her conviction and sentence unconstitutional, and order her

immediate release. Typically, a federal prisoner makes these arguments via a §

2255 petition to vacate, set aside, or correct her sentence. See Walker v. O’Brien,

216 F.3d 626, 632 (7th Cir. 2000) (noting that “Congress enacted 28 U.S.C. §

2255 to be a vehicle for collateral attacks on convictions and sentences for federal

prisoners.”). Ms. Washington is barred from filing any more § 2255 petitions with

the court because she already exhausted her one opportunity, and the court of

appeals has not authorized her to file a successive one with the court. See 28

U.S.C. § 2255 (before the sentencing court may review a “second or successive
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motion [filed under § 2255, it] must be certified as provided in section 2244 by a

panel of the appropriate court of appeals.”).       Because the law prevents Ms.

Washington from artfully labeling her motion (or crafting her arguments) to avoid

§ 2255's procedural requirements, the court must substantively review the

contents to determine whether it may even address the merits, or whether Ms.

Washington must first request the court of appeals for permission to file a

successive § 2255 petition. See Melton v. United States, 359 F.3d 855, 857 (7th

Cir. 2004) (“Call it a motion for a new trial, arrest of judgment, mandamus,

prohibition, coram nobis, coram vobis, audita querela, certiorari, capias, habeas

corpus, ejectment, quare impedit, bill of review, writ of error, or an application for

a Get-Out-of-Jail Card; the name makes no difference. It is substance that

controls.”).

      Regardless of the caption, Ms. Washington’s motion asserts at least six

different arguments all of which ultimately lead to the same conclusion —that

somehow (whether through an unconstitutional law or by way of some other

constitutional violation) Ms. Washington’s conviction and sentence should be set

aside as unconstitutional. As noted above, Congress intended for such arguments

to be advanced in a § 2255 petition, and Ms. Washington doesn’t provide an

adequate basis why her case should be an exception. Thus, the court construes

Ms. Washington’s motion as a successive one filed under § 2255, and as she has

not been granted leave to file a successive § 2255 petition by the court of appeals,



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SUMMARILY DISMISSES it for want of jurisdiction [Doc. No. 687 on 3:91-CR-02;

Doc. No. 1 on 3:06-CV-49].

      SO ORDERED.

      ENTERED: January 30, 2006


                                    /s/ Robert L. Miller, Jr.
                                    Chief Judge
                                    United States District Court

cc:   C. Washington
      B. Brook




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